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                 IN THE UNITED STATES DISTRICT COURT
                  FOR THE SOUTHERN DISTRICT OF OHIO
                           EASTERN DIVISION

United States of America

     v.                                     2:08-cr-114-4

William Smith

                                    ORDER
     There being no objections, the court hereby adopts the Report
and Recommendation of the magistrate judge (Docket No. 87) that the
defendant’s guilty plea be accepted.                The court accepts the
defendant’s   plea    of   guilty    to   Count    13   of   the   superseding
indictment, and he is hereby adjudged guilty on that count.                  The
court will defer the decision of whether to accept the plea
agreement until the sentencing hearing.


Date: December 15, 2008                 s\James L. Graham
                                  James L. Graham
                                  United States District Judge
